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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

BERNIE CLEMENS,                       Civil Action No. 3:13-cv-02447
              Plaintiffs,
          v.
                                      [MANNION, J.]
NEW YORK CENTRAL MUTUAL FIRE
INSURANCE COMPANY AND/OR              JURY TRIAL DEMANDED
NYCM INSURANCE GROUP AND/OR
NYCM HOLDINGS, INC.,
              Defendants.             ELECTRONICALLY FILED

  DEFENDANTS’ BRIEF IN OPPOSITION TO PLAINTIFFS’ PETITION FOR
           ATTORNEYS’ FEES, INTERESTS AND COSTS


                                    Respectfully submitted,


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                                    and/or NYCM Insurance Group and/or
                                    NYCM Holdings, Inc.
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    COUNTER STATEMENT OF THE FACTS AND THE HISTORY OF THE CASE

       Judgment was entered in favor of Plaintiff, Bernie Clemens, only, and

against Defendant on November 6, 2015, following a week-long trial of

Plaintiff’s bad faith claim. The jury found unanimously that Defendant acted

in bad faith and awarded punitive damages in the amount of $100,000.

       Plaintiff’s brief contains assumptions about what the jury “agreed with”

that are irrelevant to the instant motion and, therefore, not addressed in

Defendant’s Counter Statement. (See Doc. 216, p. 6.) For the purpose of this

filing, the only relevant fact is that the jury found that Defendant acted in bad

faith, thus entitling Plaintiff to ask the Court to award compensatory damages

pursuant to 42 Pa.C.S. §8371.1

       On November 20, 2015, Plaintiff filed documents entitled “Plaintiffs’

Petition for Attorneys’ Fees, Interests and Costs” and “Plaintiffs’, Bernie

Clemens and Nicole Clemens, Brief in Support of Plaintiffs’ Petition for




1 Defendant, however, is challenging the verdict, and will be filing a Rule 50
motion seeking Judgment as a Matter of Law, addressing the evidence that
was presented to the jury. A ruling on that Motion could have a substantial
effect on whether the Plaintiff is entitled to any interest, costs, and fees at all.

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Attorneys’ Fees, Interests and Costs.”2 (Doc. 214, Doc. 215, and Doc. 216.)

This brief is in response to the petition.

           COUNTER STATEMENT OF THE QUESTIONS INVOLVED

I.     ATTORNEY’S FEES:

       Has Plaintiff met his burden of establishing that the fees
       sought in the petition are reasonable?

       Answer: No.

II.    INTEREST:

       What is the amount of interest that may be awarded to
       Plaintiff under the bad faith statute?

       Answer: $4,687.50 (or $4,986.58, if compounded annually).

III.   COSTS:

       What is the lawful and reasonable amount of costs that may
       be awarded to Plaintiff under the bad faith statute?

       Answer: $3,837.76.

                                   ARGUMENT

                                  Introduction

       Pennsylvania’s bad faith statute provides as follows:

             In an action arising under an insurance policy, if the
             court finds that the insurer acted in bad faith toward


2Plaintiff also filed a Bill of Costs seeking attorneys’ fees, but Federal Rule of
Civil Procedure 54 provides that “[a] claim for attorney’s fees and related
nontaxable expenses must be made by motion ….”                        Fed.R.Civ.P.
54(d)(2)(A)(emphasis added).

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            the insured, the court may take all of the following
            actions:

            (1) Award interest on the amount of the claim from
            the date the claim was made by the insured in an
            amount equal to the prime rate of interest plus 3%.

            (2) Award punitive damages against the insurer.

            (3) Assess court costs and attorney fees against the
            insurer.

42 Pa.C.S. §8371.

      While punitive damages are awarded to punish a defendant, the object

of an award of attorney fees, interest, and costs “is to make the successful

plaintiff completely whole.” Klinger v. State Farm Mut. Auto. Ins. Co., 115 F.3d

230, 236 (3d Cir. 1997). Such damages may not be used in order to exert

further punishment on the defendant, but, rather, they are meant solely “to

compensate the plaintiff.” Id.

      While the statute provides for an award of fees, interest, and costs, such

awards are not an entitlement; they are “wholly within the discretion of the

trial court, whose discretion will not be disturbed on appeal absent abuse of

discretion.” Polselli v. Nationwide Mut. Fire Ins. Co., 126 F.3d 524, 534 (3d Cir.

1997). Therefore, while the bad faith statute provides that “a trial court ‘may’




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assess attorney’s fees and costs against an insurer upon a finding a bad faith,”

it “need not award such fees.”3 Id. (emphasis added).

I.    ATTORNEY’S FEES

      A.    Lack of Specificity

      Plaintiff’s filings do not appear to appreciate that he has the burden of

establishing that the fees claimed are reasonable. Accord, Keenan v. City of

Phila., 983 F.2d 459, 473 (3d Cir. 1992) (“Some of the assertions made by

plaintiffs’ counsel clearly misread the process of documenting a fee petition.

The burden is on the party filing a fee petition to establish that the rate

claimed is reasonable.”). Plaintiff notes that “[t]ime logs have been redacted

out of concern for privilege … but will be made available immediately for in

camera inspection by the Honorable Court upon request.” (Doc. 215, p. 2, n. 2;

and p. 3, n. 4.) However, in Keenan the appellate court rejected a similar offer

to make time records “available to the Court for in camera review

‘immediately upon request’,” as “misleading in view of the burden placed on




3 In Younis Bros. & Co. v. CIGNA Worldwide Ins. Co., the district court held
that, even though a jury found that bad faith existed, the defendant’s bad faith
did not “rise to the level that moves this Court to exercise its discretion to
award either interest or attorneys’ fees and court costs.” Younis Bros. & Co. v.
CIGNA Worldwide Ins. Co., 1995 U.S.Dist.LEXIS 3191 (E.D.Pa. 1995). The
Third Circuit Court of Appeals affirmed a district court’s decision. See Younis
Bros. & Co. v. CIGNA Worldwide Ins. Co., 91 F.3d 13 (3d Cir. 1996).

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the plaintiff.” Keenan, 983 F.2d at 473. It certainly is not sufficient to

establish is entitled to any award of fees. Id.

      Rather, according to the Third Circuit Court of Appeals, “[a]ny hours to

be used in calculating attorneys' fees must be detailed with sufficient

specificity” within the fee petition. Keenan, 983 F.2d at 472. “A fee petition is

required to be specific enough to allow the district court ‘to determine if the

hours claimed are unreasonable for the work performed.’”                Rode v.

Dellarciprete, 892 F.2d 1177, 1190 (3d Cir. 1990), citing Pawlak v.

Greenawalt, 713 F.2d 972, 978 (3d Cir. 1983). As the Third Circuit succinctly

explained in Keenan:

            A fee petition should include some fairly definite
            information as to the hours devoted to various
            general activities, e.g. pretrial discovery, settlement
            negotiations, and the hours spent by various classes
            of attorneys, e.g., senior partners, junior partners,
            associates. However, it is not necessary to know the
            exact number of minutes spent nor the precise
            activity to which each hour was devoted nor the
            specific attainments of each attorney.

Keenan, 983 F.2d at 473 (internal quotations omitted).

      The United States Supreme Court has similarly held “that the party

seeking an award of fees has the burden of submitting ‘evidence supporting

the hours worked and rates claimed.’” Webb v. County Bd. of Educ., 471 U.S.

234, 242 (1985), citing Hensley v. Eckerhart, 461 U.S. 424, 433 (1983). “The


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party seeking an award of fees should submit evidence supporting the hours

worked and rates claimed. Where the documentation of hours is

inadequate, the district court may reduce the award accordingly.”

Hensley, 461 U.S. at 433 (emphasis added).

      In Keenan,     the Third Circuit found that a summary giving “in

chronological order the date, the time consumed, and a general description of

the activities provided by each lawyer” met the standards of specificity, as did

a summary of “counsels’ time spent in various general activities such as

arbitration, pretrial preparation, and trial.”      Id.     However, “monthly

cumulative totals” of an attorney’s hours were “not sufficiently specific,” such

that, when “[f]aced with the monthly summaries the trial court could only

have speculated as to the work performed.” Id.

      Here, Plaintiff has merely attached self-serving exhibits setting forth the

cumulative totals of the hours allegedly spent and a rate that Plaintiff argues is

reasonable, along with a total dollar amount. (See Doc. 215-1, Doc. 215-2, and

Doc. 215-6.) Although Plaintiff claims to have spent a mindboggling sixty-four

(64) and a half hours preparing the petition; (Doc. 215-6), the petition is

entirely lacking in any of the requisite information; i.e., “some fairly definite

information as to the hours devoted to various general activities, e.g. pretrial

discovery, settlement negotiations, and the hours spent by various classes of


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attorneys, e.g., senior partners, junior partners, associates.”        Therefore,

Plaintiff’s petition is not sufficiently specific to “allow the district court ‘to

determine if the hours claimed are unreasonable for the work performed.’”

      In the absence of sufficient specificity, neither Defendant nor – more

importantly – the Court can determine whether the hours claimed are

reasonable or unreasonable for the work performed, and, thus, Plaintiff has

failed to meet his burden of establishing that the $902,655 in fees is, in fact,

reasonable. The request should, therefore, be denied.

      B.    Absence of Contemporaneously Recorded Time Sheets

      The United States Supreme Court has expressly recognized that

“[c]ontemporaneously recorded time sheets are the preferred practice.”

Webb, 471 U.S. at 238, n. 6. See, also, Keenan, 983 F.2d at 472. At least one

circuit strictly requires contemporaneous records. The Court of Appeals for

the D.C. Circuit has stated that:

            Casual after-the-fact estimates of time expended on a
            case are insufficient to support an award of attorneys'
            fees. Attorneys who anticipate making a fee
            application must maintain contemporaneous,
            complete and standardized time records which
            accurately reflect the work done by each attorney.

National Ass'n of Concerned Veterans v. Secretary of Defense, 675 F.2d 1319,

1327 (D.C.Cir. 1982). But, see, Jean v. Nelson, 863 F.2d 759, 772 (11th Cir.

1988)(“contemporaneous time records are not indispensable where there is

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other reliable evidence to support a claim for attorneys’ fees”); and MacDissi

v. Valmont Industries, Inc., 856 F.2d 1054, 1061 (8th Cir. 1988)(“the question

of whether reconstructed records accurately document the time attorneys

have spent is best left to the court most familiar with the litigation.”).

      In this case, Plaintiff has not adduced any time sheets whatever, let

alone contemporaneously recorded time sheets, and, in the absence of such,

Defendant requests that the request for fees be denied.

      C.     Fees Sought Are Patently Unreasonable

      According to the Third Circuit Court of Appeals:

             [A]n award of attorney’s fees under section 8371 is
             meant “to compensate the plaintiff for having to pay
             an attorney to get that to which [the plaintiff] was
             contractually entitled. Along with interest, costs, and
             delay damages, the object of an attorney fee award is
             to make the successful plaintiff completely whole.”

Polselli v. Nationwide Mut. Fire Ins. Co., 126 F.3d 524, 527 (3d Cir. 1997),

citing Klinger v. State Farm Mut. Auto. Ins. Co., 115 F.3d 230, 236 (3d Cir.

1997).     Stated another way, “[a]n award of attorneys’ fees serves to

compensate a victorious plaintiff rather than punish a losing defendant.”

Jurinko v. The Medical Protective, 2006 U.S.Dist.LEXIS 13601, *15 (E.D.Pa.

2006).     An attorneys’ fees petition is not the Plaintiff’s second chance to put

on a bad faith case. Id.



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      The Pennsylvania Superior Court has stated that “[t]he court’s ultimate

responsibility is to award a ‘reasonable’ fee.’”4 The Birth Center v. The St. Paul

Cos., Inc., 727 A.2d 1144, 1161 (Pa.Super. 1999). “Because Section 8371

provides no guidance on how a trial court should calculate attorney’s fees,”

that court held that, “when calculating a reasonable fee under Section 8371,”

the trial court must consider the following factors:          a. time and effort

reasonably expended by the attorney in the litigation; b. quality of services

rendered; c. results achieved and benefits conferred upon the class or upon

the public; d. magnitude, complexity, and uniqueness of the litigation; and

e. whether the receipt of a fee was contingent upon success. Id., 727 A.2d at

1160, citing Pa.R.Civ.P. 1716. See, also, Polselli, 126 F.3d at 532 (“Courts

deciding cases under Pennsylvania law are guided by Pennsylvania Rule of

Civil Procedure 1716 when considering the amount of a reasonable fee.”).5

“The calculation of a reasonable fee should begin with the actual number of

hours spent in pursuing the claim multiplied by a reasonable rate.” The Birth

Center, 727 A.2d at 1160. “Both the number of hours and the rate per hour

shall be calculated on a basis reasonably reflective of the relevant market and


4  The Court may award fees for time spent prosecuting the underlying
insurance claim, as well as fees for prosecuting the bad faith claim itself. See
Polselli v. Nationwide Mut. Fire Ins. Co., 126 F.3d 524, 527 (3d Cir. 1997).
5 Pa.R.Civ.P. 1716 was renumbered as Rule 1717, effective July 1, 2012.



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the magnitude, complexity and uniqueness of the claim and related task.” Id.,

727 at 1161.

            1.     Time and Effort Reasonably Expended by the Attorney
                   in the Litigation

      Plaintiff contends that the attorneys’ time and effort “was most certainly

substantial as evidenced by Plaintiff’s submissions.” (Doc. 216, p. 8.) In the

Petition, Plaintiff states – without citation to the record – that Defendant

“complicated pre-trial discovery by its conduct resulting in a great

expenditure of time by Plaintiff’s Counsel        for preparation of repeated

requests, motions, most which were decided in favor of Plaintiffs and against

[Defendant] including over 200 documents filed as evidenced by the docket.”

(Doc. 215, p. 7, ¶18(d).)

      Even a cursory review of the docket, however, provides no support for

Plaintiff’s claim that Defendant “complicated” this matter. Rather, it was

Plaintiff’s conduct that made this matter as protracted as it was.

      As for “pretrial discovery” and the “motions” filed by Plaintiff – which

Plaintiff describes as being “decided in favor of Plaintiffs and against

[Defendant]” – the docket shows that Plaintiff filed only two (2) such motions

(excluding motions related to motions for summary judgment and motions in




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limine). (See Doc. 21 and 48.) Neither of the two motions was granted or

otherwise “decided in favor of Plaintiffs.” (See Doc. 31 and 66.)

      Defendant, on the other hand, was forced to file four (4) separate

motions to compel, all of which were granted (see Doc. 34, 36, 40, 55, 61,

and 87), as well as a motion to dismiss / strike and motion for protective

order that were granted in part (see Doc. 7, 23, 42, and 51). Defendant even

had to file yet another motion to compel (see Doc. 91) to get Plaintiff to

comply with one of the Court’s orders compelling discovery. In granting

Defendant’s first two motions to compel, Judge Conaboy described the

requests as largely “straightforward, unremarkable, and obviously relevant.”

(Doc. 40, p. 3.) In addressing both parties’ motions for summary judgment,

Judge Conaboy further noted: “the Court will observe that, due to Plaintiffs’

burden to prove its case by clear and convincing evidence, and Plaintiffs’

persistent failures to cooperate in the discovery process and a failure to

observe the literal requirements of Rule 56.1 of the local rules of court,

Plaintiff escaped a judicial determination that bad faith cannot be determined

from this record by the narrowest of margins.” (Doc. 84, p. 10 (emphasis

added).)   Thus, while Plaintiff accuses Defendant of causing “delay” and

increasing “Plaintiffs hours put into the case;” (Doc. 216, p. 7), the docket

clearly shows that it was Plaintiff’s dilatory conduct that alone necessitated


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the numerous filings in this case. The Plaintiff should not be compensated for

the time his own lawyer wasted.

      Because Plaintiff’s petition does not set forth the claim for attorneys'

fees with “sufficient specificity,” it is impossible to determine what portion of

the claim was devoted to opposing Defendant’s efforts to conduct discovery or

any other unnecessary matters.       Regardless, any time for “unrelated” or

“excessive, redundant or otherwise unnecessary” matters should be properly

subtracted by the Court from the amount sought by Plaintiff. See Public

Interest Research Group v. Windfall, 51 F.3d 1179, 1188 (3d Cir. 1995); and

VanGerwen v. Guarantee Mut. Life Co., 214 F.2d 1041, 1047-1048 (9th Cir.

2000). Given Plaintiff’s conduct of record, time attributable to such matters

surely comprises a substantial portion of the over 2478 hours now being

sought by Plaintiff, and, accordingly, if the Court determines that a fee award

is appropriate, Defendant requests that the hours be reduced significantly.

            2.    Quality of Services Rendered

      In assessing the quality of services rendered, the court should examine

the following factors: (i) the results obtained for the plaintiffs in comparison

to the best possible recovery; (ii) the overall benefit conferred on the

plaintiffs; and (iii) counsel’s professional methods. Jurinko, at *29, citing




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Lindy Bros. Builders, Inc. v. Am. Radiator & Standard Sanitary Corp., 540 F.2d

102, 117-118 (3d Cir. 1976).

      While Defendant defers to the Court regarding any assessment of

Plaintiff counsel’s “professional methods,” the first two factors clearly do not

support an award of $902,655 in fees. The benefit conferred to Plaintiff was a

settlement of the SUM claim for $25,000 and a punitive damages verdict in the

amount of $100,000, for a total award of $125,000 to Plaintiff. However,

according to the Third Circuit, “[t]he amount of damages awarded, when

compared with the amount of damages requested, may be one measure of how

successful the plaintiff was in his or her action ….” Washington v. Philadelphia

County Court of Common Pleas, 89 F.3d 1031, 1042 (3d Cir. 1996). In this

case, both before and during the trial, Plaintiff’s demand was $9,000,000,

compared to an offer by Defendant in the amount of $75,000.              When

compared to the $9,000,000 requested by Plaintiff (and the $75,000 offered

by Defendant), the award of only $100,000 (1.1% of the amount requested by

Plaintiff) diminishes Plaintiff’s success substantially, and, under such

circumstances, $902,655 in fees is patently unreasonable.

      The Plaintiff’s lawyers obtained at trial only $25,000.00 more they could

have obtained by settling the matter before trial, and a staggering $8.9 million

less than the Plaintiff’s pre-trial demand. When viewed within this context,


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the result provided to the Plaintiff by his attorneys was substantially less than

optimum.

            3.    Results Achieved and Benefits Conferred Upon the Class
                  or Upon the Public

      In Jurinko, the court justified a fee award in the amount of $323,167.50,

by noting that the punitive damages award in the amount of $6.25 Million

“sent a clear and powerful message to [the insurer] and other insurers that

intentional bad faith conduct toward their insureds can be subject them to

large financial responsibility.”    Jurinko, at *32.   Here, the jury award of

$100,000 was neither clear nor powerful, especially in regard to the

exorbitant sum the Plaintiff sought. The amount of the award in this case does

not make an award of $902,655 in fees at all reasonable; to the contrary, the

request is patently unreasonable.

            4.    Magnitude, Complexity, and Uniqueness of the
                  Litigation

      According to Plaintiff, “this case was complex and unique in numerous

regards ....” (Doc. 216, p. 8.) Judge Conaboy, however, in denying both parties’

summary judgment motions, described the underlying claim as “a relatively

straightforward claim for underinsured motorist benefits.” (Doc. 84, p. 8.)

The Court both at commencement and during trial made reference to the fact

that the case was a very straightforward bad faith case involving the failure to


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promptly settle a claim. In Jurinko, the district court described the “actual

legal issues and factual disputes” in a bad faith case as “not considerably

complex.” Jurinko, at *33. Defendant submits that, while the lawsuit may

have generated many documents, the magnitude and complexity of the

litigation does not warrant an award of attorneys’ fees in the amount of

$902,655.

            5.    Whether the Receipt of a Fee Was Contingent Upon
                  Success

      According to the Explanatory Comment to Pennsylvania Rule of Civil

Procedure 1717 (formerly 1716), “[t]he court is not bound by the amount or

percentage of the fee set forth in the contingent fee agreement between the

representative party and his attorney, although the contingent nature of the

fee is a factor to be considered in approving the fee.”       Pa.R.Civ.P. 1717

(Explanatory Comment – 1977).

      Here, Plaintiff and his attorneys entered into a “Contingent Fee

Agreement,” in which any attorneys’ fees are presumably paid out as a

percentage of the amount of the settlement and award. (Doc. 216, p. 11.)

Therefore, in order for Plaintiff to truly be made “completely whole,” Plaintiff

should receive the amount that was actually paid to his attorneys and only the

amount that was actually paid. Any less and Plaintiff would not be made



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whole; any more would not only make Plaintiff whole but also provide him

with a windfall.

      Here, if Plaintiff’s attorneys were paid 40% of the settlement of the SUM

claim ($25,000) and are to be paid the same percentage of the punitive

damages award ($100,000), the amount necessary to make Plaintiff

“completely whole” would be $50,000. Plaintiff, instead, is asking that this

Court award him $902,655, over eighteen (18) times that amount. (See

Doc. 215, p. 8.) Such an award would do much more than make Plaintiff

“completely whole”, it would (assuming a 40% contingency fee) also provide

him and / or his lawyers with a windfall in the amount of $852,655. Such a

windfall is patently unreasonable, given that “the object of an attorney fee

award is to make the successful plaintiff completely whole.” Polselli, 126 F.3d

at 537.

      Moreover, to the extent that the windfall may flow to Plaintiff’s

attorneys, the Third Circuit recognizes that “[f]ee-shifting statutes,” such as

the bad faith statute, “were not designed as a form of economic relief to

improve the financial lot of lawyers.” Id., n. 15. Yet Plaintiff appears to

approach the instant fee petition in exactly that fashion.




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      D.    “Fees On Fees”

      Plaintiff is asking the Court to award fees based upon the “64.5 hours”

allegedly spent preparing “the instant petition.” (Doc. 216, p. 13.) Certainly,

“the time expended by attorneys in obtaining a reasonable fee is justifiably

included in the attorneys' fee application, and in the court's fee award.”6

Polselli, 126 F.3d at 537 (citing Prandini v. Nat'l Tea Co., 585 F.2d 47, 53 (3d

Cir. 1978)). However, such “fees on fees” are only recoverable “if the client

retains a material interest in the fee litigation.” The Birth Center, 727 A.2d at

1161. According to the Third Circuit, “a client has a material interest in the

outcome of the fee proceeding when those proceedings could affect the

client’s duty to pay her attorney.” Polselli, 126 F.3d at 538.

      Plaintiff is seeking $27,090.00 for the fees allegedly incurred in the

preparation of his petition, but he has not produced a copy of the fee

agreement (or any other such evidence) so that the Court may determine

whether the client has a “material interest” in the fee litigation. (See Doc. 215,

p. 2, n. 3 (“Plaintiffs Fee Agreement has been redacted out of concern for

privilege, but not limited to attorney/client privilege but will be made

available immediately for in camera inspection by the Honorable Court upon

6Such an award has been referred to by this Court as “fees on fees.” United
States ex rel. John Doe I v. Pennsylvania Blue Shield, 54 F. Supp. 2d 410, 414
(M.D.Pa. 1999)

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request.”).) Absent such proof, Plaintiff has not met his burden of establishing

that he may recover any “fees on fees.”

      Alternative, Defendant objects to amount sought, as excessive on its

face. Sixty-four and a half (64 ½) hours for the petition is unreasonable,

unnecessary, and unsubstantiated by the filings.

      E.    Fee Enhancement

      Plaintiff asks that this Honorable Court apply “the Rule 1716

enhancements” to the fee request. As stated in Section I(C), above, the factors

set forth in “Rule 1716” (now Rule 1717) do not even support the fees being

sought by Plaintiff in the first place, let alone an enhancement of those fees.

Accordingly, Plaintiff’s request that the fees be enhanced should be denied.

II.   INTEREST

      As with an award of attorney fees, the object of an award of interest

under the bad faith statute “is to make the successful plaintiff completely

whole.” Klinger v. State Farm Mut. Auto. Ins. Co., 115 F.3d 230, 236 (3d Cir.

1997). Such damages are meant solely “to compensate the plaintiff” and may

not be used to punish the defendant. Id.

      Section 8371 permits the Court to award, at its discretion, “interest on

the amount of the claim from the date the claim was made by the insured in an




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amount equal to the prime rate of interest plus 3%.”         42 Pa.C.S. §8371

(emphasis added).

        Here, the “claim was made” on June 21, 2011 and settled on June 20,

2014,7 and, accordingly, the Court may only award interest on the $25,000

SUM claim for the three (3) year period from June 21, 2011 until June 20,

2014.     (See Doc. 160, p. 6 (opinion of Judge Conaboy rejecting Plaintiff’s

argument that claim began with notice of a “potential SUM claim” on April 12,

2010 and holding that the “relevant time frame” runs from June 21, 2011 until

June 20, 2014).) As Plaintiff correctly notes, the “prime interest rate remained

steady at 3.25%” during these three years. (Doc. 215, ¶15.) Accordingly, the

amount of the annual interest is $1,562.50, which for three (3) years totals

$4,687.50. If the Court permits the interest to be compounded annually, the

amount of interest would be:




7 Although Plaintiff refers to the “unpaid balance of $125,000” – presumably to
inflate the interest claim by suggesting that Defendant has not yet paid the
$25,000 SUM claim – the check for $25,000 was deposited on July 22, 2014.

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      June 21, 2011 – June 20, 2012

            ($25,000 x 6.25%) = $26,562.50

      June 21, 2012 – June 20, 2013

            ($26,562.50 x 6.25%) = $28,222.66

      June 21, 2011 – June 20, 2012

            ($28,222.66 x 6.25%) = $29,986.58

      Total (minus the $25,000 already paid) = $4,986.58

      Therefore, even if the Court decides to award interest and compound

the interest annually, the maximum interest owed under the bad faith statute

would be $4,986.58.

      Plaintiff, however, is asking the Court to award interest in the amount of

$50,630.00. (See Doc. 215, ¶15.) Plaintiff’s calculation is premised upon the

erroneous belief that interest began to accrue on April 1, 2010, when,

according to Plaintiff, the “claim began.” (Doc. 215, ¶15.)

      Section 8371 only allows for the award of “interest on the amount of the

claim from the date the claim was made by the insured …” 42 Pa.C.S.

§8371 (emphasis added). The Court has already ruled that the claim was not

made until June 21, 2011; (see Doc. 160, pp. 5-6), and, as such, under the

express provisions of the bad faith statute, interest cannot begin to run until

June 21, 2011. See 42 Pa.C.S. §8371.


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       In addition, Plaintiff argues that interest on the SUM claim should

continue to accrue until the present date, even after the claim was settled in

June of 2014. While Defendant was unable to locate any case law addressing

this precise issue, such a request flies in the face of the objective of awarding

interest pursuant to Section 8371, which is simply to make the plaintiff

“completely whole.” Here, Plaintiff is not asking the Court to make him

“completely whole,” but to provide him with interest on monies that were

paid over a year ago.

       Furthermore, Plaintiff is asking the Court to award interest going back

to April of 2010 on the punitive damages award that was not even entered

until November 6, 2015. There is simply no support in the language of the

statute or the applicable law for an award of interest on the punitive damages

award going back to April 1, 2010.

III.   COSTS

       In the Petition, Plaintiff is asking the Court to award $43,871.43 in costs,

including $32,325 for their expert, Stuart Setcavage. (See Doc. 215-3, p. 3.)

However, the costs recoverable under the bad faith statute are no different

than those recoverable under 28 U.S.C. §1920, “which does not include private

expert fees.” Jurinko, at *38. See, also, Willow Inn, Inc. v. Public Service Mut.

Ins. Co., 2002 U.S.Dist.LEXIS 8063, *8 (E.D.Pa. 2002)(“Most of these expenses


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are excluded because they relate to the Willow Inn’s expert fees ….”).

Therefore, Plaintiff’s request for $32,325 for expert fees should be disallowed.

      Furthermore, as stated in more detail in Defendant’s Objections to

Plaintiff’s Bill of Costs; (see Doc. 218), Plaintiff’s request for fees for printing /

copies and trial exhibits fails to “show[] the nature of the documents copied,

including how they were used or intended to be used in the case” and,

therefore, should also be disallowed. Helms v. Walmart Stores, Inc., 808

F.Supp. 1568, 1570 (N.D.Ga. 1992). See, also, Desisto College v. Town of

Howey-in-the-Hills, 718 F. Supp. 906, 914 (M.D.Fla. 1989).

      In addition, Plaintiff’s attempt to recover the costs in obtaining costs in

obtaining both the transcripts and the videotapes of depositions is not

permissible, nor is the request for shipping costs for the transcripts. See In re

Aspartame Antitrust Litig., 817 F.Supp.2d 608, 617 (E.D.Pa. 2011), citing

Stevens v. D.M. Bowman, Inc., 2009 U.S. Dist. LEXIS 3065, at *12 (E.D. Pa.

2009)(“[T]he costs of a videotape or a deposition transcript may be taxed, but

not both.”); and Wesley v. Dombrowski, 2008 U.S. Dist. LEXIS 49544, at *10

(E.D. Pa. 2008) (same).       See, also, In re Aspartame Antitrust Litig., 817

F.Supp.2d at 617 (“A party may not recover the shipping and handling costs

associated with depositions.”). See, also, Neena S. v. Sch. Dist., 2009 U.S. Dist.

LEXIS 65185, at *32 (E.D. Pa. 2009)(stating that the Third Circuit "disallows"


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costs for postage and courier fees), quoting In re Penn Cent. Transp. Co., 630

F.2d 183, 191 (3d Cir. 1980); and Wesley v. Dombrowski, 2008 U.S. Dist. LEXIS

49544, at *10-11 (E.D. Pa. 2008)(refusing to grant costs for shipping and

handling).

     Accordingly, should the Court decide to award costs, the amount of the

lawfully and reasonably recoverable costs do not exceed $3,837.76.

                                      Respectfully submitted,

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                         CERTIFICATION OF COMPLIANCE

      I hereby certify that the foregoing Brief contains 4,534 words according

to the word processing system used to prepare the Brief. This complies with

Pa. R.A.P. 2135(a)(2).



Date: December 4, 2015                By: /s/ Charles E. Haddick, Jr.
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